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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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MARK NUNEZ, et al.,
Plaintiffs, DECLARATION OF
SHAUN KELLY
-against-
CITY OF NEW YORK, et al.,
11 Civ. 5845 (LTS)(JCF)
Defendants.
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UNITED STATES

-against-

OF AMERICA,

Plaintiff-Intervenor,

CITY OF NEW YORK and NEW YORK CITY
DEPARTMENT OF CORRECTION,

STATE OF NEW Y¥

COUNTY OF QUE

Defendants.

I, Shaun Kelly, declare pursuant to 28 U.S.C. Code §1746 under penalty of perjury that the

following is true and correct:

1. Taman Assistant Commissioner with the Correction Intelligence Bureau (CIB) of the New
York City Department of Correction.

2. I have been asked by the City of New York to prepare the following declaration pertaining
to Illustrative Examples 6, 8, and 9 in the Monitor’s July 10, 2023 report.

3. Asan Assistant Commissioner of CIB, I am aware of the underlying incidents and resulting

investigation

1s designated as COD 1606/23, COD 1619/23, and COD 1860/23.

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4. The underlying incidents regarding COD 1619/23 and COD 1860/23 are still open and
being investigated by the CIB. CIB has closed its investigation into COD 1606/23, and
has referred the matter to the Bronx County District Attorney’s Office. Upon information
and belief, COD 1606/23 is still open and being investigated by the Bronx County District
Attorney’s Office.

5. At this juncture, disclosure of any documents pertaining to the underlying incidents
regarding COD 1619/23 and COD 1860/23 and the resulting investigations would impact
the integrity of such investigations by revealing privileged investigative and law
enforcement techniques. Furthermore, disclosure of any documents pertaining to the
underlying incidents regarding COD 1619/23 and COD 1860/23 would prevent the CIB
from pursuing certain investigative avenues. In addition, disclosure of any documents
pertaining to the underlying incident regarding COD 1606/23 would reveal privileged
investigative and law enforcement techniques.

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